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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                        ______

MICHAEL LYNN ANDERSON,

                                                     Case No. 1:17-cv-756
                       Plaintiff,
                                                     Honorable Gordon J. Quist
v.

MUSKEGON POLICE DEPARTMENT et
al.,

                       Defendants.
____________________________/

                                             ORDER

               This is a civil rights action brought by a state prisoner under 42 U.S.C. § 1983.

Following an initial screening of the complaint, on September 29, 2017, the Court issued an

opinion and judgment (ECF Nos. 7, 8), dismissing the complaint for failure to state a claim because

the claims were long-since barred by the statute of limitations. The matter presently is before the

Court on Plaintiff’s motion for reconsideration (ECF No. 9), which was filed on July 2, 2018.

               Given the posture of the case, the Court construes Plaintiff’s motion as one seeking

relief from judgment under Rule 60(b) of the Federal Rules of Civil Procedure. A Rule 60(b)

motion may be granted only for certain specified reasons: (1) mistake, inadvertence, surprise, or

excusable neglect; (2) newly discovered evidence; (3) fraud, misrepresentation, or the like; (4) the

judgment is void; (5) the judgment has been satisfied, released, or discharged, or a prior judgment

upon which it is based has been reversed or otherwise vacated, or it is no longer equitable that the

judgment should have prospective application; or (6) any other reason justifying relief from the

operation of the judgment. When none of the first five enumerated examples of Rule 60(b) apply,
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relief is available only when exceptional or extraordinary circumstances are present. Cincinnati

Ins. Co. v. Byers, 151 F.3d 574, 578 (6th Cir. 1998).

               Plaintiff argues in his motion that the Court’s dismissal on the grounds of the statute

of limitations should be vacated on the basis of ineffective assistance of counsel. Plaintiff appears

to refer to the attorney representing him in his parole-violation proceeding. However, Plaintiff’s

criminal defense attorney had no obligation to represent Plaintiff in a civil rights complaint.

Indeed, Plaintiff has no right to counsel in a civil rights proceeding. Abdur-Rahman v. Mich. Dep’t

of Corr., 65 F.3d 489, 492 (6th Cir. 1995); Lavado v. Keohane, 992 F.2d 601, 604-05 (6th Cir.

1993). The alleged ineffective assistance of counsel therefore is both meritless and irrelevant to

the timeliness of the complaint.

               Plaintiff next argues,

       The District Court violated plaintiff[’s] due process [right] to exhaust and forced
       him to present a mixed petition, which prejudice[d] plaintiff and prevented him
       from finding these issues when an evidentiary hearing had been conduct, this
       request was well within the time limitation and cause[d] him harm.

(Mot. for Reconsid., ECF No. 9, PageID.43-44.) The meaning of Plaintiff’s argument is unclear,

but it is apparent that he complains about matters that did not arise in this action. Instead, Plaintiff

appears to complain about a habeas petition that challenged his underlying criminal matter. The

instant action, however, is a civil rights complaint, not a habeas corpus proceeding. Moreover,

nothing about his criminal proceedings or any habeas corpus action implicated the timeliness of

his current complaint. Given that timeliness was the sole basis for the Court’s dismissal, Plaintiff’s

argument is irrelevant.

               Plaintiff next argues that

       [t]he evidence proves this is a void judgment which makes time a none [sic] factor
       because fraud has been committed it also restrains plaintiff of his liberty in violation
       of both Michigan and Federal constitutions and to allow it to stand is a miscarriage
       of justice.
                                                   2
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(Id., PageID.44.) Plaintiff appears to be challenging his judgment of conviction, rather than the

judgment in the instant case. Again, the issue is irrelevant to the issue of timeliness of his

complaint.   Moreover, Plaintiff’s new argument represents a challenge to his judgment of

conviction. A challenge to the fact or duration of confinement must be brought as a petition for

habeas corpus and is not the proper subject of a civil rights action brought pursuant to § 1983.

Preiser v. Rodriguez, 411 U.S. 475, 500 (1973) (rejecting challenge brought under § 1983 and

holding that, “when a state prisoner is challenging the very fact or duration of his physical

imprisonment, and the relief he seeks is a determination that he is entitled to immediate release or

a speedier release from that imprisonment, his sole federal remedy is a writ of habeas corpus”).

Therefore, to the extent that Plaintiff’s complaint challenges the fact or duration of his

incarceration, his complaint is subject to dismissal for that additional reason.

               Accordingly, for the reasons set forth in the Court’s September 29, 2017, Opinion

and in this Order,

               IT IS HEREBY ORDERED that Plaintiff’s motion for reconsideration

(ECF No. 9), construed as a motion for relief from judgment, is DENIED.



Dated: July 26, 2018                                          /s/ Gordon J. Quist
                                                             GORDON J. QUIST
                                                       UNITED STATES DISTRICT JUDGE




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